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                              UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

 IRA D. SOCOL,                                        )
                                                      )
                         Plaintiff                    )
                                                      )
                                                      )
 v.                                                   )              Case No. 3:18cv00090
                                                      )
                                                      )
 ALBEMARLE COUNTY SCHOOL BOARD                        )
                                                      )
     and                                              )
                                                      )
 MATTHEW S. HAAS, individually and as Superintendent )
     of Albemarle County Public Schools,              )
                                                      )
                   Defendants.                        )
                                                      )

  PLAINTIFF’S MEMORANDUM IN OPPOSITION TO THIRD-PARTY ALBEMARLE
        COUTY SCHOOL BOARD’S MOTION FOR PROTECTIVE ORDER

        Plaintiff Ira D. Socol (“Mr. Socol”), by counsel, respectfully submits this Memorandum

 in Opposition to the Motion for Protective Order and to Limit Deposition Examinations (the

 “Motion”), [ECF 42], filed by third-party Albemarle County School Board (the “Board”), and

 states as follows.

                                      Preliminary Statement

        In its Memorandum in Support of Motion for Protective Order and to Limit Deposition

 Examinations (the “Memoradum”), [ECF 43], the Board asserts that Mr. Socol’s Notice of

 30(b)(6) Deposition (the “Notice”), [ECF 43-1, p. 9-12], is (i) overbroad, including matter that is

 not relevant; (ii) will require preparation that is unduly burdensome; and (iii) was set for a date

 too soon to allow the Board to prepare one or more representatives to be deposed. As to the last
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 assertion, Mr. Socol has agreed to continue the deposition, so the Board will have ample time to

 prepare.

    As to the former assertions–that the Notice is overbroad and preparation will be unduly

 burdensome–the Motion would have more punch if the Board had not already admitted, sotto

 voce, that the depositions to which the Board objects are relevant to Mr. Socol’s remaining

 claims against Defendant Dr. Matthew S. Haas. [ECF 43, p. 3 (“the topics in issue are almost

 entirely irrelevant” (italics added))] Indeed, the topics are not merely relevant, as the

 Memorandum suggests, they are central to Mr. Socol’s remaining claims, as set out in his

 Amended Complaint (the “Complaint”), [ECF 13].

    I.      The Constitution and Work of the Steering Committee.

         In large measure, this matter arises from the decision of Dr. Haas, on behalf of the

 Augusta County Public Schools (“ACPS”), to open a new pilot high school to be known as

 Albemarle Tech (“A-Tech”) with less than one year’s notice, and on a limited budget. [Id., ¶¶ 30,

 31 & 38] Dr. Haas turned to Mr. Socol to create a charter for the new school and named Mr.

 Socol as one member of the “Steering Committee” that would plan and execute the creation of

 A-Tech, as well as new space for the Department of Learning, Engineering, Access and Design

 (“LEAD”) and a new professional learning center, both to be co-located with A-Tech. [Id., ¶¶ 31

 – 37] The membership of the Steering Committee included Lindsay Snoddy, then the Deputy

 Director of Building Services, and Rosslyn Schmitt, then the Director of Facilities and Finance

 and now the Chief Operating Officer of ACPS. [Id., ¶35] Both Ms. Snoddy and Ms. Schmitt had

 extensive training and experience in finance and procurement, on which Mr. Socol relied in

 matters of procurement compliance. [Id., ¶¶ 36 & 37]




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        A. Furniture Acquisition.

        In order to fulfill its mandate, the Steering Committee had to determine how to fit out and

 furnish of A-Tech and the other projects under its purview, for which it was allocated a total

 budget of $250,000. [Id., ¶ 37] Certain members of the Steering Committee proposed using an

 independent interior decorator to select the furnishings for the project, rather than one of the

 interior directors on staff with ACPS. [Id., ¶ 39] Mr. Socol objected to the expense, believing it

 to be more cost-efficient to handle that issue in-house; however, he was overruled by the other

 members of the committee and Jennifer Greehalgh was retained to select the furniture. [Id.]

        Ms. Greenhalgh provided the Steering Committee with a proposal to furnish A-Tech and

 the professional learning center (but not LEAD) for $488,000, an amount roughly twice the

 Steering Committee’s entire budget for furnishing and fitting out the entire space. [Id., ¶ 40] For

 obvious reasons, the Steering Committee rejected Ms. Greenhalgh’s proposal; instead, the

 Steering Committee asked Elodie Wolfe, an ACPS employee, to prepare an alternate proposal.

 [Id., ¶ 41] Ms. Wolfe was both a member of LEAD, reporting to Mr. Socol, and under the direct

 authority of Office Manager Tanisha Thompson, who reported to Dr. Haas. [Id.]

        Ms. Wolfe presented her proposal to the members of the Steering Committee, along with

 Ms. Greenhalgh’s proposal for comparison. [Id. 42] The members of the Steering Committee

 reviewed each item or grouping of items and selected those to be acquired. [Id.] Ms. Wolfe

 placed on a Google documents spreadsheet, which was available to all of the members of the

 Steering Committee. [Id.] As completed, the spreadsheet included a description of the item, the

 project for which it was to be acquired, its advertised price, its purchase price, the date it was

 ordered, the specific ACPS Purchasing Card (“P-Card”) to be used to acquire it, and, once

 acquisition was complete, the date it was received. [Id.]



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        The Steering Committee agreed to use LEAD P-Cards to make the furniture purchases as

 a convenience to committee member Debora Collins, then Assistant Superintendent for Student

 Learning and now Dr. Haas’ successor as Deputy Superintendent, whose department would

 otherwise have had to make the purchases. [Id., ¶ 44] Some purchases were made with multiple

 P-Cards, because the aggregate total of the purchase exceeded the available limit on a single P-

 Card. [Id., ¶ 45] However, the aggregate furniture purchases for any single project (A-Tech,

 LEAD, or the professional learning center) did not exceed $50,000, and none of the individual

 pieces of furniture cost more than $5,000. [Id., ¶¶ 46 & 47] Not only did the Steering Committee

 collectively approve the purchases and the manner in which they were made, [Id., ¶¶ 43 & 44],

 but no individual member voiced any objection to such decisions. [Id., ¶ 48]

        B. Furniture Acquisition Challenged.

        On or about May 28, 2018, Mr. Socol received an email from Thomas Winder, a

 purchasing agent for Albemarle County, questioning the procedure used to purchase the

 furntiture. [Id., ¶ 50] In light of which, Mr. Socol discussed the procedure with Reeda Deane,

 who worked in Fiscal Services for ACPS. [Id.] Ms. Reade assured Mr. Socol that the procedure

 used by the Steering Committee was within the normal practices of ACPS, saying “this is what

 we do all the time. Rosslyn [Schmitt] never said anything, no one’s ever said anything.” [Id.]

        On June 11, 2018, the purchasing procedures and use of P-Cards were discussed

 extensively at the meeting of the Operational Cabinet of ACPS. [Id., ¶ 52] Dean Tistadt, the then

 Chief Operating Officer of ACPS, objected to the way that Albemarle County characterized the

 furniture purchases, and Ms. Schmitt noted that the training by the County related to purchasing

 was “not the best”, the implication being that such training was not sufficient to put the members




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 of the Steering Committee on notice that the County might question the procedure they used to

 purchase the furniture. [Id.]

          On or about June 11, 2018, Mr. Socol, at his request, met with Mr. Winder to discuss the

 furniture acquisition. [Id. ¶54] Ms. Wolfe, Ms. Schmitt, Ms. Snoddy, and Assistant County

 Attorney Amanda Farley were also present. [Id.] At the meeting, Ms. Farley articulated the

 County’s position that the furniture purchases for all three projects should have been aggregated

 and, had they been, such a purchase would have required competitive bidding. [Id.] In discussing

 next steps, Mr. Winder stated “you just need the Board to approve this, it happens a lot.” [Id.]

 Mr. Winder also told Mr. Socol, in a later conversation, that the Department of Student Learning

 had engaged in “much worse” procurement behavior. [Id., ¶ 58] Mr. Socol has reason to believe

 that such behavior was not considered serious enough for Mrs. Collins, the then head of that

 Department, to be disciplined. [Id.]

          Shortly after the meeting with Mr. Winder and Ms. Farley, Mr. Socol met with Dr. Hass

 and asked if he, Mr. Socol, should attend the next meeting of the Board. [Id., ¶ 56] Dr. Hass

 replied by saying “no, it’s nothing; we’ll take care of it.” [Id.] On June 14, 2018, the Board

 approved the furniture purchases. [Id.] However, as Dr. Haas later told Mr. Socol, three members

 of the Board voted against ratifying the purchases and demanded that Mr. Socol be fired,

 presumably based on their belief that Mr. Socol had unilaterally made the decision whether and

 how to purchase the furniture. [Id., ¶ 59]

    II.      Mr. Socol is Investigated and Discharged.

          On or about July 20, 2018, Mr. Socol met with John Gray, then Assistant Director of

 Human Resources for ACPS, and Claire Keiser, then Director of Educational Quality and now

 Assistant Superintendent, to discuss the furniture purchase. [Id., ¶ 60] Mr. Socol believed that



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 the purpose of the meeting was to ensure that ACPS and the County did not come into conflict

 on purchasing procedures in the future. [Id.] However, at the meeting, Mr. Socol learned for the

 first time that his emails related to the furniture acquisition had been reviewed. [Id.] However,

 such review was conducted without reference to the date or context of the emails and, as a result,

 an email in which he objected to the hiring of Ms. Greenhalgh (an objection ultimately overruled

 by the Standing Committee) was being interpreted as an attempt by him to unilaterally seize

 control of the furniture purchases themselves, which were approved and made much later and

 were not the subject of the email in question. [Id.] Mr. Socol did his best to help Mr. Gray and

 Ms. Kaiser understanding the correct sequence and context of that email. [Id.] At that meeting,

 Mr. Socol had the distinct impression that Mr. Gray and Ms. Keiser were seeking to blame Ms.

 Wolfe for any alleged purchasing irregularities, something with which Mr. Socol did not agree.

 [Id.] Mr. Socol was not at this time told that his individual conduct was under investigation. [Id.]

        On July 26, 2018, Dr. Haas texted Mr. Socol and asked him to come to a meeting “to

 resolve all of this.” [Id., ¶ 65] Mr. Socol asked if he should bring a lawyer, but Dr. Haas did not

 reply. [Id.] Mr. Socol met with Dr. Haas, Ms. Keister, and Brodie Downs, the Assistant Director

 of Human Resources for the County, on July 27, 2018. Dr. Haas immediately told Mr. Socol that

 “your time with Albemarle County has come to an end.” [Id., ¶ 66] He went on to tell Mr. Socol

 that “you have no rights here” and he could sign a resignation letter prepared by ACPS or he

 would be fired. [Id.] At that time, Mr. Socol was not shown any report, given the factual

 predicates for his termination, or given a list of the allegations against him, much less a chance to

 respond to them. [Id., ¶ 67] Indeed, to date, Mr. Socol has not been provided any pre-deprivation

 opportunity to respond to the stigmatizing statements Dr. Haas has made about him. [Id., ¶ 128]




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     III.      Dr. Haas Makes Statements that Injured Mr. Socol’s Reputation.

            A. Dr. Haas calls Dr. Pam Moran.

            On July 27, 2018, the very day Mr. Socol was informed he was being terminated (but

 before his termination letter was even sent to him) Dr. Haas called Dr. Pamela R. Moran,

 ACPS’s former Superintendent, to discuss Mr. Socol’s termination. [Id., ¶ 90] Dr. Moran was no

 longer an employee or agent of ACPS at that time, and so had no legitimate reason to know

 confidential personnel matters related to Mr. Socol. [Id., ¶ 92] Moreover, as Dr. Haas was aware,

 Dr. Moran was not only a person with wide connections within the educational community

 generally, she was a business partner of and co-author with Mr. Socol. [Id., ¶ 91]

            In the course of his call with Dr. Moran, Dr. Haas placed the entire blame for the alleged

 procedural violation in the acquisition of the furniture by the Standing Committee on Mr. Socol

 alone, stating that Mr. Socol had been terminated because he “misused P-Cards deliberately and

 egregiously.” [Id., ¶ 93] Dr. Haas further stated that Mr. Socol had “admitted to the conduct in

 the report”, [Id., ¶ 96], which is a bit ironic, as Mr. Socol had not seen the report prior to or

 during the July 27, 2018, meeting, and therefore could not have admitted the specific allegations

 contained in it. [Id., ¶ 67]

            B. Dr. Haas Likely Made Similar Statements to Others.

            Mr. Socol has reason to believe that Dr. Haas has made similar statements to others,

 including Dr. Kevin Castner, another former Superintendent of ACPS, and certain business

 partners, or potential business partners, of Mr. Socol. [Id., ¶¶ 103-111] Moreover, in his July 27,

 2018 phone call with Dr. Moran, Dr. Haas stated his prediction, and perhaps intention, that the

 manner of Mr. Socol’s termination, arising from his refusal to sign the resignation letter, would

 impair Mr. Socol’s professional prospects. [Id., ¶ 111]



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        C. Dr. Haas’ Statements are False.

        Mr. Socol alleges that Dr. Haas’ statements are false. On the most basic level, Mr. Socol

 alleges that the acquisition of the furniture did not violate the procurement rules of ACPS and the

 County. [Id., ¶¶ 88 & 114] Moreover, even if the acquisition of the furniture did violate the

 procurement rules, Mr. Socol alleges that the acquisition was the decision of the Steering

 Committee collectively, and cannot be laid at his door alone. [Id., ¶ 86]

        Mr. Socol further alleges that Dr. Haas’ statement that he (or any member of the Steering

 Committed) engaged in “deliberate[]” misconduct is demonstrably false. [Id., ¶ 114] To the

 contrary, Mr. Socol alleges that the Steering Committee’s procurement practices were consistent

 with the procurement practices used within ACPS, based on his understanding the aggregation

 rules, [Id., ¶¶ 87 & 88], the role of Ms. Snoddy and Ms. Schmitt on the Committee and their

 approval of the acquisition procedure, [Id., ¶¶ 37 & 43,44, & 48] and the subsequent statements

 of Ms. Deene and Mr. Tisdadt. [Id., ¶¶ 50 & 52] Far from engaging in deliberate misconduct,

 Mr. Socol and the other members of the Steering Committee acted appropriately and

 transparently.

        Further, Mr. Socol alleges that Dr. Haas’ statement that he (or any member of the

 Steering Committee) engaged in “egregious” misconduct likewise is demonstrably false. To the

 contrary, he has alleged a number of disputes between ACPS and the County, in which the two

 had similarly differed on the correct application of the procurement rules, which resulted, not in

 discipline for ‘egregious’ misconduct, but ratification by the Board. [Id., ¶¶ 50, 52, 56 & 58]

        Finally, Dr. Haas’ statement that Mr. Socol “admitted to the conduct in the Report” is

 necessarily false. No report had been provided to Mr. Socol at the time Dr. Haas made that

 statement to Dr. Moran. [Id., ¶¶ 67 & 96] Thus, Mr. Socol could not have admitted to allegations



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 contained in one, since he could not know them with any specificity. It should go without saying

 that, now that he has seen the report prepared by ACPS (the “Report”), he denies the allegations

 of misconduct that it contains. [Id., ¶ 83] In particular, Mr. Socol can clearly establish that the

 email it cites as a ‘smoking gun’ is taken entirely out of context and out of time, and refers not–

 as the Report suggests–to the acquisition of the furniture but, rather, refers to the decision to

 retain Ms. Greenhalgh. [Id., ¶ 85] Thus, the report’s finding that the email constituted evidenced

 that Mr. Socol had unilaterally seized control of the procurement functions of the Steering

 Committee is not only incorrect, it is the very opposite of the truth. To the contrary, the email

 constitutes evidence that the Steering Committee made its own decisions, and the members of

 the committee had no qualms about rejecting positions championed by Mr. Socol.

                                          ARGUMENT

    I.      Applicable Standard.

         As the Board concedes, a party seeking a protective order under Rule 26(c) of the Federal

 Rules of Civil Procedure bears the burden of establishing “good cause” by showing that “specific

 prejudice or harm will result if no protective order is granted.” United States ex rel. Davis v.

 Prince, 753 F.Supp. 2d 561, 565 (E.D. Va. 2010) (quoting Phillips v. Gen. Motors Corp., 307

 F.3d 1206, 1210-11 (9th Cir. 2002). In order for such an order to be issued the party seeking a

 protective order “must show that a clearly defined and serious injury will result from the

 discovery sought.” James WM. Moore et al., 6 Moore’s Federal Practice 26.102[1] (3d ed.

 2011). “Conclusory or speculative statements about the need for a protective order and the harm

 that would be suffered without one are insufficient.” Id.

         This rule has full application to the taking of discovery depositions. “Courts are

 extremely hesitant to prohibit the taking of a discovery deposition and most requests of this



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  nature are denied.” Id. (citing 8 C. Wright, A. Miller & F. Elliott, Federal Practice and

  Procedure § 2037, at 135 (1988 Supp.); Medlin v. Andrew, 113 F.R.D. 650 (M.D.N.C.1987)—

  (collecting cases)). Additionally, “[a] court generally will not limit discovery simply because it

  may be somewhat cumulative and duplicative. Rather, the discovery must be unreasonably so in

  light of the nature of the inquiry before the court will limit the discovery sought.” James WM.

  Moore et al., 6 Moore’s Federal Practice 26.60[2] (3d ed. 2011) (emphasis added) (citing

  Travelers Rental Co. v. Ford Motor Co., 116 F.R.D. 140, 145 (M.D.N.C. 1989)

     II.      The Matter Designated in the Notice is Relevant to Mr. Socol’s Claims.

           Mr. Socol has two remaining claims against Dr. Haas. One is based in Section 1983 of

  the United State Code, alleging that Dr. Haas violated his XIVth Amendment liberty interests by

  making statements about Mr. Socol that created a stigma adversely affecting his future

  employment opportunities and business dealings without providing him any pre-deprivation

  process. [Complaint, ECF 13, ¶¶ 127 & 129] The other is a claim for defamation per se brought

  under Virginia law. [Id., ¶¶ 140 & 141] Both claims are grounded in the allegation that Dr. Haas

  made false statements that stigmatized and defamed Mr. Socol; specifically, the alleged

  statements to the effect that (i) Mr. Socol violated the procurement policies of the ACPS; (ii)

  such violation was the unilateral act of Mr. Socol, and not the corporate act of the Standing

  Committee; (iii) such violations were deliberate and egregious; and (iv) Mr. Socol admitted to

  such misconduct, as it was detailed in the Report.

           A. Truth is a Defense to Both of Mr. Socol’s Claims.

           Both of Mr. Socol’s claims fail if Dr. Haas’ alleged statements are true. See, e.g., Sciolino

  v. City of Newport News, 480 F.3d 642, 646 (4th Cir. 2007) (in making a claim for violation his

  XIVth Amendment liberty interests, “a plaintiff must allege that the charges against him . . . were



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  false”) and Steele v. Goodman, 382 F.Supp. 3d 403, 418 (E.D. Va. 2019) (if statements are true

  no actionable defamation exists under Virginia law). Accordingly, the truth or falsity of each of

  the alleged statements listed above is not only relevant, it is crucial to the resolution of Mr.

  Socol’s claims. Turning to each claim in turn, it is clear how the designation in the Notice is

  tailored to elicit relevant testimony.

                  1. Statement One: Mr. Socol Violated the Procurement Policies of ACPS.

          In order to know whether Mr. Socol violated the procurement policies of ACPS, one

  needs to know what those policies are. Accordingly, discovery into those policies is clearly

  relevant. Moreover, it is not enough to know what the policy is on paper; it is necessary to know

  how the policies has been applied by those who have the power to interpret and enforce them.

  All of which is to say that the interpretation and enforcement of the procurement policies of

  ACPS, the matter designated in item c of Exhibit A of the Notice (the “Designation”), are

  relevant to Mr. Socol’s claims.

          Next, it is necessary to move from the interpretation and enforcement of the procurement

  policies of ACPS in the abstract, to the concrete question: did Mr. Socol violate those policies?

  While Mr. Socol disputes the finding of the report, there is no question that ACPS itself relied on

  the report in making the decision to terminate Mr. Socol for his alleged misconduct. Surely the

  Board cannot now take the position that there is no relationship between the report, and the

  investigation upon which it is based, and Mr. Socol’s alleged misconduct. Accordingly, the

  report and the investigation upon which it is based, which are among the matter identified in item

  a of the Designation, are relevant to Mr. Socol’s claims.




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                 2. Statement Two: Mr. Socol Unilaterally Violated the Procurement
                    Policies.

         In order to know whether Mr. Socol’s unilaterally violated the procurement policies, it is

  necessary to know now the Steering Committee was constituted; how it made its decisions

  generally; the identity, authority and role of its members; how its members interacted; and how,

  specifically, decisions related to the acquisition of the furniture were made. All of which is to say

  that the constitution and deliberations of the Steering Committee provide important context for

  Mr. Socol’s claims. Such knowledge helps answer the question whether the furniture

  procurement was a decision of the Steering Committee corporately or Mr. Socol unilaterally and

  are, therefore, entirely relevant to Mr. Socol’s claims. It is just such matter that is identified in

  item b of the Designation.

                 3. Statement Three: Mr. Socol Deliberately and Egregiously Violated the
                    Procurement Policies.

         Even if Mr. Socol unilaterally violated the procurement policies of ACPS, it is necessary

  to determine the truth or falsity of Haas’ statement that such alleged violations were deliberate

  and egregious. That determination can only be made in the proper context.

         One element of the context relates to the particular pressures to which the Steering

  Committee was subject. The limited time, the limited budget, and the specific demands under

  which it worked are entirely relevant to the question whether the alleged procurement violations

  were egregious and deliberate, or merely a good faith response to the unusual challenges

  presented in trying to stand up an entire school in less than one year, while concurrently

  complete two other co-located, but distinct, projects. Thus, the constitution, deliberations, and

  decisions of the Steering Committee–again, matter identified in item b of the designation–are




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  relevant to setting the wider context within which the truth or falsity of Dr. Haas’ statement that

  Mr. Socol engaged deliberate and egregious misconduct is to be determined.

         Another element of the context relates to the practices prevalent with the ACPS at the

  time, how those practices were viewed by ACPS employees, and how alleged violations of the

  procurement procedures were addressed. Evidence tending to establish that context is relevant to

  the question whether Mr. Socol’s alleged violation was deliberate, or whether he was acting in a

  good faith belief that he was within the established procurement norms of the ACPS. Likewise,

  evidence tending to establish that context is relevant to the question whether Mr. Socol’s alleged

  misconduct could be characterized as egregious–warranting discipline and calling his character

  into question–or something merely to be ratified and overlooked, even if technically in violation

  of policy. Item c of the Designation identifies precisely such relevant matter.

                 4. Statement Four: Mr. Socol Admitted the Conduct Detailed in the Report.

         Finally, discovery into the Report and investigation is relevant to determining whether, as

  Dr. Haas allegedly stated, Mr. Socol admitted the conduct detailed in the report. Such an

  admission would have arisen in the context of the investigation and termination of Mr. Socol,

  again matter identified in item a of the Designation.

         B. The Matter Designated in the Notice is Relevant to Dr. Haas’ State of Mind.

         The matter designated in the Notice is relevant not only on the question of the truth or

  falsity of the statements allegedly made by Dr. Haas, it is relevant to determining Dr. Haas’ state

  of mind when he made such statements. Dr. Haas’ state of mind is relevant for at least two

  reasons. First, because Mr. Socol has alleged facts that suggest that ACPS (and, by implication.

  Dr. Haas) was seeking a scapegoat in the wake of the evident unhappiness of certain members of

  the Board with the furniture acquisition. [Complaint, ECF 13, ¶¶ 56 & 60] Second, because Mr.



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  Socol has made a claim for punitive damages, which places Dr. Haas’ intent in making the

  statements is squarely at issue. [Id., p. 25]

             In establishing Dr. Haas’ state of mind, relevant considerations include (i) his existing

  assessment of Mr. Socol as an employee, which would have been informed by ACPS’s personnel

  information and determinations as identified in item a of the Designation; (ii) the particular

  burdens and challenges under which the Steering Committee conducted its affairs, as well as the

  manner by which it made its decisions, matter identified in item b of the Designation; and (iii)

  Dr. Haas’ understanding of the relevant procurement policies, the history of their interpretation

  and enforcement, and the appropriate disciplinary response (if any) for alleged violations of such

  policies, matter identified in item c of the Designation.

      III.      The Notice of 30(b)(6) Deposition is Not Unduly Burdensome.

             A. The Scope is Reasonable, Even Modest.

             The Designation of the matter for examination in the Notice is reasonable, even modest.

  Item a relates to information regarding ACPS personnel decisions related to Mr. Socol’s hiring,

  reviews and termination. That information is narrowly circumscribed, as it relates to one

  employee. Moreover, it is relevant to the issues presented in this case, for several reasons. To

  name just the most obvious, Mr. Socol’s performance as an employee, particularly in carrying

  out his procurement functions, is relevant to any determination whether he acted “deliberately

  and egregiously”, and also to whether Dr. Haas believed in good faith he had done so when he

  stated as much.

             Item b relates to the work of the Steering Committee, which was only in existence for

  less than a single year.




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          Item c relates to the procurement policies of ACPS, surely a matter as to which it can

  speak easily and clearly. Moreover, that designation is limited to the five year period prior to the

  events in question in this case, ensuring that it is reasonable in scope. That timeframe also

  ensures relevance; it is entirely reasonable that the history of interpretation and enforcement of

  the procurement policies during that period would be known to Mr. Socol, Dr. Haas, and the

  other actors in this drama, and would therefore inform their view as to the contours of their

  obligations under those policies, and the appropriate response to the extent that an alleged

  violation of those obligations occurred.

          B. The Relevant Information is in the Possession of the Board.

          By its nature, the matters identified in the Designations implicate information that Board

  and ACPS has, and Mr. Socol does not. Accordingly, “the parties’ relative access to relevant

  information” militates strongly in favor of denying the Motion. F.R.C.P. 26(b). Moreover,

  conducting the 30(b)(6) deposition set out in the Notice may well serve all parties by preventing

  the necessity of conducting numerous individual depostions–of Mr. Gray. Ms. Keiser, Mr.

  Downs, etc.–in order to solicit much the same information. Finally, even were Mr. Socol to

  conduct such individual depositions, they would provide Mr. Socol the ability to secure the

  testimony of ACPS as an organization.

          C. The Notice is not Unduly Burdensome to the Board.

          Any consideration of “the parties’ resources” also militates strongly in favor of denying

  the Motion. Id. For all of the supposed concern of the Board, expressed in Mr. Holden’s

  Declaration, that the Designation is overbroad and unduly burdensome, [ECF 43-1, p. 1-5], the

  Board has significant institutional resources at its disposal, to say the least. Specifically, it has

  full time human resources and/or financial personnel, [Complaint, ECF 13, ¶¶ 50 & 60], and an



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  annual budget in 2020-21 in excess of $193 million.1 See 2020-2021 School Board’s Adopted

  Budget (Albemarle County Public Schools), p. A-9 ), p. A-9, accessed at

  https://resources.finalsite.net/images/v1611755880/k12albemarleorg/z9w1u0rfoxbv0vqizs7h/FY

  21-SB-Adopted-Combined.pdf on May 3, 2021.

          The matters identified in the Designation are hardly arcane, either due to the strangeness

  of the subject matter or the remoteness in time. Such matters include (i) the personnel record of

  one employee, (ii) the workings of a single committee over less than a single year, and (iii) the

  history of the interpretation and enforcement of ACPS’s own procurement policies over a recent

  five years period. Indeed, even without referencing the litigation hold letter Mr. Socol sent to the

  Board, the School Board and ACPS are subject to document retention requirements with regard

  to virtually all of the documents necessary for the preparation of a corporate representative, see

  Va. Code Ann. § 42.1-76 et seq., and is subject to Freedom of Information Act obligations as to

  documents related to much such information. Id. § 2.2-3700 et seq.; see also Jeffrey S. Gore and

  Roger     C.    Wiley,     “Virginia    Public     Records     Act     Requirements”,       accessed       at

  https://www.lynchburgva.gov/sites/default/files/COLFILES/City-Council-Manager/Clerk/17-

  18_PRA.pdf on June 3, 2021.

          In short, the Board was under a legal obligation to retain the documents containing the

  information necessary to prepare a corporate representative. Likewise, the Board has ample

  resources, and trained and qualified individuals, in order to prepare a representative to testify. All

  that the Board lacks is the will to do so. Mr. Socol asks this Court to supply that will in the form

  of an order denying the Motion.



  1
   See 2020-2021 School Board’s Adopted Budget (Albemarle County Public Schools), p. A-9, accessed at
  https://resources.finalsite.net/images/v1611755880/k12albemarleorg/z9w1u0rfoxbv0vqizs7h/FY21-SB-Adopted-
  Combined.pdf on May 3, 2021.

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         WHEREFORE, Mr. Socol respectfully requests that the Court (i) deny the Motion, (ii)

  grant him his costs, including legal fees, incurred in replying to the Motion, and (iii) enter any

  further relief it deems just and proper.

                                               Respectfully Submitted,
                                               IRA D. SOCOL
                                               By Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2021, I electronically filed the foregoing paper with the

  Clerk of the Court using the ECF system, which will send notification of such filing to the

  attorneys registered with the ECF system.

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